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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 CATHERINE MCKOY, et al.,                                     :
                                              Plaintiffs, :            18 Civ. 9936 (LGS)
                                                              :
                            -against-                         :              ORDER
                                                              :
 THE TRUMP CORPORATION, et al.,                               :
                                              Defendants. :
 ------------------------------------------------------------ X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on March 10, 2023, Plaintiffs moved to certify a class pursuant to Federal Rule of

Civil Procedure 23. On April 7, 2023, Defendants filed a memorandum of law in opposition to the

motion. Their opposition cited testimony from two experts, Robert Peterson and Dr. Joseph Hair.

        WHEREAS, on April 21, 2023, Plaintiffs filed a reply in support of their motion. In conjunction

with their reply, Plaintiffs also filed a pre-motion letter seeking leave to move to exclude the evidence

from Defendants’ experts. It is hereby

        ORDERED that Plaintiffs’ motion shall be briefed as follows:

    •   By May 5, 2023, Plaintiffs shall file their motion, with a memorandum of law not to exceed ten

        pages.

    •   By May 19, 2023, Defendants shall file their opposition, not to exceed ten pages.

    •   By May 24, 2023, Plaintiffs shall file their reply, not to exceed five pages.

The parties shall otherwise comply with the Court’s Individual Rules regarding motions.

        The Clerk of Court is respectfully directed to close the motions at Dkt. Nos. 566 and 567.

Dated: April 25, 2023
       New York, New York
